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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                   UNITED STATES DISTRICT COURT
 8
                                  NORTHERN DISTRICT OF CALIFORNIA
 9
                                         OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                 JOINT STIPULATION AND
                                                  [PROPOSED] ORDER RE SCHEDULING
13                  Plaintiffs,                   OF DEPOSITIONS
14             v.
                                                  Action Filed: 10/29/2019
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,
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17                  Defendants.

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     JOINT STIPULATION AND [PROPOSED]                                 Case No. 4:19-cv-07123-PJH
     ORDER

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 1             Pursuant to Local Rules 6-1(b) and 6-2, and as supported by the Declaration of Aaron Craig

 2   filed herewith, Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited

 3   (“Defendants”), and Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”)

 4   (collectively, the “Parties”) hereby stipulate and agree that the depositions of five witnesses may

 5   be taken after the discovery cutoff, and the Parties and two third party witnesses have agreed upon

 6 a deposition schedule.

 7             WHEREAS, on February 15, 2024, the Court granted Defendants’ Motion for Relief from

 8 Case Management Schedule and extended the fact-discovery cutoff to September 13, 2024 (Dkt.
 9   No. 289);

10             WHEREAS, the Parties have coordinated extensively to complete the depositions of

11   fourteen fact witnesses, as well as the entity depositions of the parties in this matter prior to the

12   fact-discovery cutoff;

13             WHEREAS, to accommodate the Parties agreed-upon schedule and witness availability,

14 the Parties have agreed that the depositions of five witnesses should be taken shortly after the fact-

15 discovery cutoff during the weeks of September 16, 2024, and of September 23, 2024;

16             WHEREAS, certain of the depositions of Plaintiffs’ witnesses scheduled after the

17 discovery cutoff will include corporate deposition testimony pursuant to Rule 30(b)(6) of the

18 Federal Rules of Civil Procedure;

19             WHEREAS, the Parties, by the below signatures of their respective counsel, have agreed

20   upon the dates, times, and locations for the depositions of the five witnesses;

21             WHEREAS, two of those five depositions scheduled after the fact-discovery cutoff will be

22   of witnesses previously employed by Westbridge (the “Former WB Employees”);

23             WHEREAS, by the below signature of his counsel, one of the Former WB Employee

24   (“J.S.”) consents to his deposition exceeding 7 hours of record time on the same day, as described

25 in the following paragraph;

26             WHEREAS, the Parties, by the below signatures of their counsel, have agreed that, for

27 J.S.’s deposition, Plaintiffs will examine J.S. for up to the first 4 hours, 45 minutes of record time;

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     JOINT STIPULATION AND [PROPOSED]                                                         1
     ORDER

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 1   followed, on the same day, by Defendants’ examination (without need for a cross-notice of

 2 deposition and not being limited to the scope of the direct examination) of up to 2 hours, 15 minutes

 3 of record time; and then followed, on the same day, by Plaintiffs’ cross-examination (limited to

 4 the scope of Defendants’ examination) of J.S. for up to an additional 45 minutes of record time

 5 (plus any remaining, unused portion of Plaintiff’s initial 4 hours, 45 minutes of record time). The

 6 Parties agree that they may reserve portions of their record time described within this paragraph

 7 for cross-examination, provided that Plaintiffs’ total record time does not exceed 5.5 hours;

 8 Defendants’ total record time does not exceed 2 hours, 15 minutes; and J.S.’s deposition ends no
 9 later than 7:15 pm assuming that J.S. and his counsel are ready to begin the deposition at the

10 noticed time of 9:00 am.

11          WHEREAS, the Parties, by the below signatures of their counsel, have agreed that, for the

12 T.D. deposition, Plaintiffs will examine T.D. for up to the first 4 hours, 45 minutes of record time;

13 followed, on the same day, by Defendants’ examination (without need for a cross-notice of

14 deposition and not being limited to the scope of the direct examination) of up to 2 hours, 15 minutes

15 of record time; and then followed, on the same day, by any cross-examination (but not direct

16 examination) by the Parties provided that Plaintiffs’ total record time does not exceed 4 hours, 45

17 minutes and Defendants’ total record time does not exceed 2 hours, 15 minutes.

18          WHEREAS, Plaintiffs expressly reserve their right to seek, if necessary, additional record

19 time to depose the Former WB Employees, and Defendants, as well as the Former WB Employees,

20 expressly reserve their right to oppose such requested relief.

21          NOW THEREFORE, the Parties and the Former WB Employees respectfully request that

22 the Court enter the proposed order submitted herewith.

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     JOINT STIPULATION AND [PROPOSED]                                                        2
     ORDER
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 1   DATED: September 13, 2024                         KING & SPALDING LLP
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 3
                                                       By: /s/ Aaron S. Craig ___________________
 4                                                         JOSEPH N. AKROTIRIANAKIS
 5                                                         AARON S. CRAIG
                                                           Attorneys for Defendants
 6                                                         NSO GROUP TECHNOLOGIES
                                                           LIMITED AND Q CYBER
 7                                                         TECHNOLOGIES LIMITED
 8
 9
                                                       By: /s/ Aaron S. Craig ___________________
10                                                         JOSEPH N. AKROTIRIANAKIS
11                                                         AARON S. CRAIG
                                                           Attorneys for Non-Party Witness
12                                                         JOSH SHANER

13
                                                       By: /s/ Micah G. Block
14
                                                           Greg D. Andres
15                                                         Antonio J. Perez-Marques
                                                           Craig T. Cagney
16                                                         Micah G. Block
                                                           DAVIS POLK & WARDWELL LLP
17                                                         Attorneys for Plaintiffs
18                                                         WHATSAPP LLC AND META
                                                           PLATFORMS, INC
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20
                                         L.R. 5-1 ATTESTATION
21
            I, Aaron S. Craig, attest that all signatories listed herein, and on whose behalf this filing is
22
     submitted, concur in this filing’s content and have authorized this filing.
23
                                                    By:    /s/            Aaron S. Craig
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                                                                         AARON S. CRAIG
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     JOINT STIPULATION AND [PROPOSED]                                                           3
     ORDER
      Case 4:19-cv-07123-PJH Document 380 Filed 09/16/24 Page 5 of 6




 1                                        [PROPOSED] ORDER

 2          Pursuant to the stipulation of the parties and good cause therefor having been shown, the

 3   Court orders:

 4          1.       Absent the further agreement of the parties, the parties may conduct fact depositions

 5   during the weeks of September 16th and September 23rd notwithstanding the close of fact discovery

 6 on September 13, 2024.

 7          2.       For the deposition of “J.S.,” a former employee of Westbridge (a “Former WB

 8 Employee”), Plaintiffs will examine J.S. for up to the first 4 hours, 45 minutes of record time;
 9 followed, on the same day, by Defendants’ examination (without need for a cross-notice of

10 deposition and not being limited to the scope of the direct examination) of up to 2 hours, 15 minutes

11 of record time; and then followed, on the same day, by Plaintiffs’ cross-examination (limited to

12 the scope of Defendants’ examination) of J.S. for up to an additional 45 minutes of record time

13 (plus any remaining, unused portion of Plaintiff’s initial 4 hours, 45 minutes of record time). The

14 Parties may reserve portions of their record time described within this paragraph for cross-

15 examination, provided that Plaintiffs’ total record time does not exceed 5.5 hours; Defendants’

16 total record time does not exceed 2 hours, 15 minutes; and J.S.’s deposition ends no later than 7:15

17 pm assuming that J.S. and his counsel are ready to begin the deposition at the noticed time of 9:00

18 am.
19          3.       For the deposition of T.D., another Former WB Employee, Plaintiffs will examine

20 T.D. for up to the first 4 hours, 45 minutes of record time; followed, on the same day, by

21 Defendants’ examination (without need for a cross-notice of deposition and not being limited to

22 the scope of the direct examination) of up to 2 hours, 15 minutes of record time; and then followed,

23 on the same day, by any cross-examination (but not direct examination) by the Parties provided

24 that Plaintiffs’ total record time does not exceed 4 hours, 45 minutes and Defendants’ total record

25 time does not exceed 2 hours, 15 minutes.

26          4.       All other deadlines of the Case Management Schedule (see Dkt. No. 357) remain

27 in place.

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     JOINT STIPULATION AND [PROPOSED]                                                         4
     ORDER
      Case 4:19-cv-07123-PJH Document 380 Filed 09/16/24 Page 6 of 6


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 1         IT IS SO ORDERED.




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 3   Dated: September ___,
                      16 2024                                        Hamilto
                                          _________________________________
                                                                               n
                                                           hyllis J.




                                             NO
                                                   Judge P




                                                                                   FO
 4                                        The Honorable Phyllis J. Hamilton




                                             RT




                                                                               LI
                                          United States
                                                 E       District Judge




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     JOINT STIPULATION AND [PROPOSED]                                                      5
     ORDER
